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                                      13
                                           Attorneys for Plaintiff,
                                           Marissa Glover
                                      14                        UNITED STATES DISTRICT COURT
                                      15                     SOUTHERN DISTRICT OF CALIFORNIA

                                      16   MARISSA GLOVER,                        Case No.: '16CV1784 AJB BLM
                                      17                Plaintiff,                COMPLAINT FOR DAMAGES FOR
                                                                                  VIOLATIONS OF:
                                      18                        v.
                                                                                    I.     THE ROSENTHAL FAIR
                                      19   JPMORGAN CHASE BANK,                            DEBT COLLECTION
                                                                                           PRACTICES ACT, CAL.
                                      20   N.A.; EQUIFAX                                   CIV. CODE § 1788, ET
                                           INFORMATION SERVICES,                           SEQ.;
                                      21   LLC; EXPERIAN
                                                                                    II.    THE FAIR CREDIT
                                      22   INFORMATION SOLUTIONS,                          REPORTING ACT, 15
                                           INC.; AND, TRANS UNION                          U.S.C. §§ 1681, ET SEQ.;
                                      23   LLC,
                                                                                    III.   CALIFORNIA CONSUMER
                                      24                                                   CREDIT REPORTING
                                                                                           AGENCIES ACT, CAL.
                                      25                Defendants.                        CIV. CODE § 1785.1, ET
                                                                                           SEQ.; AND,
                                      26
                                                                                    IV.    CALIFORNIA CIVIL CODE
                                      27                                                   § 1798.92, ET SEQ.
                                      28                                          JURY TRIAL DEMANDED


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                                       1                                      INTRODUCTION
                                       2   1.    The United States Congress has found abundant evidence of the use of
                                       3         abusive, deceptive, and unfair debt collection practices by many debt
                                       4         collectors, and has determined that abusive debt collection practices contribute
                                       5         to the number of personal bankruptcies, to marital instability, to the loss of
                                       6         jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
                                       7         Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate abusive debt
                                       8         collection practices by debt collectors, to insure that those debt collectors who
                                       9         refrain from using abusive debt collection practices are not competitively
                                      10         disadvantaged, and to promote consistent State action to protect consumers
                                      11         against debt collection abuses.
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                                      12   2.    In addition, the United States Congress has also found that the banking system
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                                      13         is dependent upon fair and accurate credit reporting. Inaccurate credit reports
                                      14         directly impair the efficiency of the banking system, and unfair credit
                                      15         reporting methods undermine the public confidence, which is essential to the
                                      16         continued functioning of the banking system. As such, Congress enacted the
                                      17         Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”) to insure fair
                                      18         and accurate reporting, promote efficiency in the banking system and protect
                                      19         consumer privacy. The FCRA seeks to ensure consumer reporting agencies
                                      20         exercise their grave responsibilities with fairness, impartiality, and a respect
                                      21         for the consumer’s right to privacy because consumer reporting agencies have
                                      22         assumed such a vital role in assembling and evaluating consumer credit and
                                      23         other information on consumers.       The FCRA also imposes duties on the
                                      24         sources that provide credit information to credit reporting agencies, called
                                      25         “furnishers.”
                                      26   ///
                                      27   ///
                                      28   ///


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                                       1   3.      The California legislature has determined that the banking and credit system
                                       2           and grantors of credit to consumers are dependent upon the collection of just
                                       3           and owing debts and that unfair or deceptive collection practices undermine
                                       4           the public confidence that is essential to the continued functioning of the
                                       5           banking and credit system and sound extensions of credit to consumers. The
                                       6           Legislature has further determined that there is a need to ensure that debt
                                       7           collectors exercise this responsibility with fairness, honesty, and due regard
                                       8           for the debtor’s rights and that debt collectors must be prohibited from
                                       9           engaging in unfair or deceptive acts or practices.1
                                      10   4.      MARISSA GLOVER (“Plaintiff”), by Plaintiff’s attorneys, brings this action
                                      11           to challenge the actions of JPMORGAN CHASE BANK, N.A. (“Chase” or
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                                      12           “Defendants”); EQUIFAX INFORMATION SERVICES, LLC (“Equifax” or
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                                      13           “Defendants”);       EXPERIAN         INFORMATION          SOLUTIONS,         INC.
                                      14           (“Experian” or “Defendants”); and, TRANS UNION LLC (“Trans Union” or
                                      15           “Defendants”) with regard to attempts by Defendants, debt collectors, to
                                      16           unlawfully and abusively collect a debt allegedly owed by Plaintiff, and this
                                      17           conduct caused Plaintiff damages. Similarly, said action is also based upon
                                      18           Defendants’ respective failures to report accurate information to Plaintiff’s
                                      19           credit report following notification that the tradelines were inaccurate.
                                      20   5.      Plaintiff makes these allegations on information and belief, with the exception
                                      21           of those allegations that pertain to a plaintiff, or to a plaintiff’s counsel, which
                                      22           Plaintiff alleges on personal knowledge.
                                      23   6.      While many violations are described below with specificity, this Complaint
                                      24           alleges violations of the statute cited in its entirety.
                                      25   7.      Unless otherwise stated, all the conduct engaged in by Defendant took place
                                      26           in California.
                                      27
                                      28   1
                                               Cal. Civ. Code §§ 1788.1 (a)-(b)

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                                       1   8.   Any violations by Defendants were knowing, willful, and intentional, and
                                       2        Defendant did not maintain procedures reasonably adapted to avoid any such
                                       3        violation.
                                       4   9.   Unless otherwise indicated, the use of Defendant’s name in this Complaint
                                       5        includes all agents, employees, officers, members, directors, heirs, successors,
                                       6        assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                                       7        of Defendant’s named.
                                       8                                       JURISDICTION AND VENUE
                                       9   10. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331; 15 U.S.C. §
                                      10        1692; 15 U.S.C. § 1681p; and, 28 U.S.C. § 1367 for supplemental state
                                      11        claims.
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                                      12   11. This action arises out of Defendants’ violations of (i) the Rosenthal Fair Debt
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                                      13        Collection Practices Act, Cal. Civ. Code § 1788.17 (“RFDCPA”); (ii) Fair
                                      14        Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681 et seq. (“FCRA”); (iii)
                                      15        the California Consumer Credit Reporting Agencies Act, Cal. Civ. Code §
                                      16        1785.1, et seq. (“CCCRAA”); and, (iv) California’s Identity Theft Act,
                                      17        California Civil Code §§ 1798-92, et seq (“CITA”).
                                      18   12. Because Defendants conduct business within the State of California, personal
                                      19        jurisdiction is established.
                                      20   13. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                      21        Plaintiff resides in the County of San Diego, State of California which is
                                      22        within this judicial district; (ii) the conduct complained of herein occurred
                                      23        within this judicial district; and, (iii) Defendants conducted business within
                                      24        this judicial district at all times relevant.
                                      25                                            PARTIES
                                      26   14. Plaintiff is a natural person who resides in the County of San Diego, State of
                                      27        California, from whom various debt collectors sought to collect a consumer
                                      28        debt which was due and owing or alleged to be due and owing from Plaintiff.


                                           COMPLAINT FOR DAMAGES                                                PAGE 3 OF 16
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                                       1         In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                                       2         1692a(3); Cal. Civ. Code § 1785.3(c); and, 15 U.S.C. § 1681a(c).
                                       3   15. Plaintiff is a “Victim of Identity Theft” as that term is defined by Cal. Civ.
                                       4         Code § 1798.82(d).
                                       5   16. Defendant Chase is a company operating from the State of New York.
                                       6   17. Defendant Equifax is a limited liability company incorporated in the State of
                                       7         Georgia.
                                       8   18. Defendant Experian is a corporation incorporated in the State of Ohio.
                                       9   19. Defendant Trans Union is a limited liability company incorporated in the State
                                      10         of Delaware.
                                      11   20. Chase is a furnisher of information as contemplated by FCRA sections 1681s-
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                                      12         2(a) & (b), that regularly and in the ordinary course of business furnish
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                                      13         information to one or more consumer reporting agencies about consumer
                                      14         transactions or experiences with any consumer.
                                      15   21. Plaintiff is informed and believes, and thereon alleges, that Chase, in the
                                      16         ordinary course of business, regularly, on behalf of themselves or others,
                                      17         engage in “debt collection” as that term is defined by California Civil Code §
                                      18         1788.2(b), and are therefore “debt collectors” as that term is defined by
                                      19         California Civil Code § 1788.2(c).
                                      20   22. Defendants Equifax; Trans Union; and, Experian (the “Credit Bureaus”) are
                                      21         each a “consumer reporting agency” as that term is defined by 15 U.S.C. §
                                      22         1681a(f).
                                      23   23. This action arises out of a “debt” as that term is defined by Cal. Civ. Code §
                                      24         1788.2(d) that was incurred as a result of a “consumer credit transaction” as
                                      25         defined by Cal. Civ. Code § 1788.2(e).
                                      26   ///
                                      27   ///
                                      28   ///


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                                       1   24. The causes of action herein also pertain to Plaintiff’s “consumer credit report”
                                       2         as that term is defined by Cal. Civ. Code § 1785.3(d), in that inaccurate
                                       3         representations of Plaintiff’s credit worthiness, credit standing, and credit
                                       4         capacity were made via written, oral, or other communication of information
                                       5         by a consumer credit reporting agency, which is used or is expected to be
                                       6         used, or collected in whole or in part, for the purposes of serving as a factor in
                                       7         establishing Plaintiff’s eligibility for, among other things, credit to be used
                                       8         primarily for personal, family, household and employment purposes.
                                       9   25. Chase is a “claimant” as that term is defined by California Civil Code §
                                      10         1798.92(a).
                                      11                             GENERAL FACTUAL ALLEGATIONS
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                                      12   26. At all times relevant, Plaintiff is an individual residing within the State of
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                                      13         California.
                                      14   27. Beginning in mid-2015, Plaintiff learned for the first time that Defendants
                                      15         were reporting multiple accounts to Plaintiff’s credit report that Plaintiff did
                                      16         not incur.
                                      17   28. Upon conducting an investigation, Plaintiff learned that Plaintiff was the
                                      18         victim of identity theft.
                                      19   29. Thereafter, Plaintiff attempted to resolve these accounts informally with each
                                      20         of the reporting parties.
                                      21   30. Notwithstanding these informal attempts, Chase continued Chase’s harassing
                                      22         collection efforts through telephone calls; demeaning collection letters; and,
                                      23         horrible credit due to debts that Plaintiff did not incur.
                                      24   31. Subsequently, Plaintiff disputed Chase’s tradelines discussed herein by
                                      25         written communication dated December 16, 2015 which was sent to the Credit
                                      26         Bureaus via certified mail.
                                      27   ///
                                      28   ///


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                                       1   32. In so doing, Plaintiff provided an abundance of documentation to establish
                                       2        that the tradelines were fraudulent and/or compromised through identity theft,
                                       3        including an identity theft police report filed by Plaintiff, a receipt and
                                       4        confirmation number of an Identity Theft Affidavit submitted to the FTC by
                                       5        Plaintiff, and a copy of Plaintiff’s driver’s license which contained Plaintiff’s
                                       6        signature.
                                       7   33. While numerous other furnishers deleted the inaccurate and misleading
                                       8        information, Chase refused to do so despite being provided with the same
                                       9        documentation.
                                      10   34. The repeated and continuous violations described herein have caused Plaintiff
                                      11        unnecessary stress and anxiety. Despite this knowledge, Chase continued to
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                                      12        pursue Plaintiff for an invalid debt causing Plaintiff to suffer.
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                                      13   35. As a direct and proximate result of Defendants’ willful action and inaction,
                                      14        Plaintiff has suffered actual damages, including, but not limited to, reviewing
                                      15        credit reports, preparing and mailing dispute letters, attorneys’ fees, loss of
                                      16        credit, loss of ability to purchase and benefit from credit, increased costs for
                                      17        credit, mental and emotional pain and anguish, and humiliation and
                                      18        embarrassment of credit denials. Plaintiff has further spent countless hours
                                      19        and suffered pecuniary loss in attempting to correct Defendants’ inaccurate
                                      20        and derogatory information, without success.
                                      21   36. Since these efforts were unsuccessful, Plaintiff was required to bring this
                                      22        action to finally resolve Plaintiff’s remaining disputes.
                                      23                           FACTUAL ALLEGATIONS RE: CHASE
                                      24   37. In or about 2015, an imposter opened and/or compromised two accounts with
                                      25        Chase on behalf of Plaintiff without Plaintiff’s knowledge and/or consent.
                                      26   38. On information and belief, one account was for the financing of an auto loan
                                      27        associated with truncated account number beginning with 1150. In addition,
                                      28        the other account was for a Chase credit card, truncated account number


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                                       1        beginning with 4266 (the “Accounts”).
                                       2   39. Thereafter, Chase engaged in collection activity against Plaintiff by reporting
                                       3        Plaintiff’s alleged debt to the Credit Bureaus as an outstanding obligation and
                                       4        by sending collection letters and placing collection calls to Plaintiff.
                                       5   40. In response to said collection activity, Plaintiff disputed the alleged debt
                                       6        alleged to be owed to Chase on or around December 16, 2015.
                                       7   41. Specifically, Plaintiff disputed the Chase Accounts discussed herein, pursuant
                                       8        to 15 U.S.C. § 1681i(a)(2), by written communication dated December 16,
                                       9        2015, which was sent to the Credit Bureaus via certified mail, and instructed
                                      10        the Credit Bureaus to block the Chase tradelines, pursuant to section 605B of
                                      11        the FCRA, because the Accounts were created and/or compromised through
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                                      12        identity theft.
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                                      13   42. Enclosed with the dispute letters sent to the Credit Bureaus was a copy of a
                                      14        police report Plaintiff filed for her identity theft, a receipt and confirmation
                                      15        number of an Identity Theft Affidavit submitted to the FTC, and a copy of
                                      16        Plaintiff’s driver’s license for verification purposes.
                                      17   43. Upon information and belief, the Credit Bureaus timely notified Chase of
                                      18        Plaintiff’s dispute.
                                      19   44. The Credit Bureaus were required to conduct a reasonable reinvestigation into
                                      20        the disputed Accounts on Plaintiff’s consumer report pursuant to 15 U.S.C.
                                      21        §1681i.
                                      22   45. Chase was required to conduct a reasonable reinvestigation into the disputed
                                      23        Accounts on Plaintiff’s consumer report pursuant to 15 U.SC. § 1681s-
                                      24        2(b)(1)(A).
                                      25   46. In January 2016, Plaintiff received notification from the Credit Bureaus that
                                      26        Chase and the Credit Bureaus received notice of Plaintiff’s dispute pursuant to
                                      27        15 U.S.C. § 1681i(a)(6) and were providing the results of the reinvestigation.
                                      28


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                                       1   47. Despite receipt of this information, Chase continued collection activity with
                                       2        regard to the fraudulent Accounts and has continued to report the alleged debt
                                       3        on Plaintiff’s credit reports.
                                       4   48. The Credit Bureaus did not provide notice to Plaintiff that Plaintiff’s dispute
                                       5        was “frivolous or irrelevant,” pursuant to 15 U.S.C. § 1681i(a)(3), yet still
                                       6        allowed the inaccurate and misleading Chase Accounts information to report
                                       7        on Plaintiff’s credit reports.
                                       8   49. The Credit Bureaus were required to block the Chase tradelines within four
                                       9        business days from receipt of Plaintiff’s December 16, 2015 identity theft
                                      10        dispute, pursuant to 15 U.S.C. §1681c-2(a).
                                      11   50. However, not only did the Credit Bureaus fail to block the Chase tradelines
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                                      12        within four business days from receipt of Plaintiff’s December 16, 2015
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                                      13        identity theft dispute, but they have allowed the Chase Accounts to continue
                                      14        reporting as of the date of the filing of this complaint.
                                      15   51. Further, the Credit Bureaus should have discovered from their records,
                                      16        including Plaintiff’s formal dispute, that the Accounts being reported by
                                      17        Chase were inaccurate and materially misleading because it suggested that
                                      18        Plaintiff’s Accounts with Chase were legitimate and delinquent, even though
                                      19        the Chase Accounts were created and/or compromised through identity theft.
                                      20        Moreover, upon information and belief, various other disputed accounts by
                                      21        other credit furnishers were blocked by the Credit Bureaus following
                                      22        Plaintiff’s identity theft dispute, yet the Credit Bureaus continued to allow the
                                      23        negative Chase Accounts to report on Plaintiff’s credit reports.
                                      24   52. Accordingly, the Credit Bureaus failed to follow reasonable procedures to
                                      25        assure maximum possible accuracy of the information concerning Plaintiff
                                      26        and violated 15 U.S.C. § 1681e(b).
                                      27   53. Accordingly, the Credit Bureaus failed to conduct a reasonable investigation
                                      28        with respect to the disputed information as required by 15 U.S.C. §1681i.


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                                       1    54. Upon information and belief, Chase’s investigation was unreasonable. More
                                       2         specifically, Chase should have discovered from its records, including
                                       3         Plaintiff’s formal dispute, that the information Chase was reporting was
                                       4         inaccurate and materially misleading because it suggested that the Chase
                                       5         Accounts were legitimate and delinquent, even though the Chase Accounts
                                       6         were created and/or compromised through identity theft.
                                       7    55. Moreover, Chase failed to provide notice of dispute to the Credit Bureaus as
                                       8         required by 15 U.S.C. §1681s-2(a)(3).
                                       9    56. Accordingly, Chase failed to conduct a reasonable investigation with respect
                                      10         to the disputed information as required by 15 U.SC. § 1681s-2(b)(1)(A) by:
                                      11             A. Failing to remove all of the disputed and incorrect information, and
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                                      12             B. Failing to notate, as required, Plaintiff’s dispute.
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                                      13    57. Accordingly, Chase failed to conduct a reasonable investigation with respect
                                      14         to the disputed information as required by 15 U.SC. § 1681s-2(b)(1)(A).
                                      15    58. Chase failed to review all relevant information provided by Plaintiff in the
                                      16         dispute to the Credit Bureaus, as required by and in violation of 15 U.SC. §
                                      17         1681s-2(b)(1)(B).
                                      18    59. Due to Chase’s failure to reasonably investigate, Chase further failed to
                                      19         correct and update Plaintiff’s information as required by 15 U.S.C. § 1681s-
                                      20         2(b)(1)(E), thereby causing continued reporting of inaccurate information in
                                      21         violation of 15 U.S.C. § 1681-s(2)(b)(1)(C).
                                      22    60. By inaccurately reporting account information after notice and confirmation
                                      23         of its errors, Chase failed to take appropriate measures as required by 15
                                      24         U.S.C. § 1681s-2(b)(1)(D); and, (E).
                                      25    61. Through this conduct, Chase has violated Cal. Civ. Code § 1785.25(a) by
                                      26         furnishing information to consumer reporting agencies that Chase knew or
                                      27         should known was inaccurate.
                                      28


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                                       1    62. Plaintiff’s continued efforts to correct Chase’s and the Credit Bureaus’
                                       2         erroneous and negative reporting of the Chase account by communicating
                                       3         Plaintiff’s dispute with the Credit Bureaus were fruitless.
                                       4    63. Chase’s and the Credit Bureaus’ continued inaccurate and negative reporting
                                       5         of the Chase account in light of their knowledge of the actual error was
                                       6         willful.
                                       7    64. Chase’s and the Credit Bureaus’ failure to correct the previously disclosed
                                       8         inaccuracies on Plaintiff’s credit reports was intentional and in reckless
                                       9         disregard of its duty to refrain from reporting inaccurate information.
                                      10         Accordingly, Chase and the Credit Bureaus willfully and negligently failed to
                                      11         comply with its respective duties to reasonably investigate Plaintiff’s dispute.
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                                      12    65. Chase’s and the Credit Bureaus’ inaccurate and negative reporting damaged
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                                      13         Plaintiff’s creditworthiness.
                                      14    66. Subsequently, Plaintiff attempted to obtain goods and/or services only
                                      15         available to consumers with satisfactory credit reports. However, said goods
                                      16         and/or services were denied to Plaintiff due in part to the Chase tradelines on
                                      17         Plaintiff’s credit reports.
                                      18    67. Said tradelines have affected Plaintiff negatively due to the reporting of
                                      19         multiple delinquencies and has negatively impacted Plaintiff’s debt to income
                                      20         ratio which has lowered Plaintiff’s credit score. Moreover, Chase has also
                                      21         failed to report to the bureaus that the Chase account at issue was incurred as
                                      22         the result of identity theft.
                                      23    68. Through this conduct, Chase violated 15 U.S.C. § 1692e by using false,
                                      24         deceptive, and misleading representations in connection with the collection of
                                      25         Plaintiff’s alleged debt.       This section is incorporated into the RFDCPA
                                      26         through Cal. Civ. Code § 1788.17; thus, Chase violated Cal. Civ. Code §
                                      27         1788.17.
                                      28


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                                       1    69. Through this conduct, Chase violated 15 U.S.C. § 1692e(2)(A) by falsely
                                       2          representing the character, amount, and legal status of the fraudulent debt in
                                       3          connection with the collection of Plaintiff’s alleged debt. This section is
                                       4          incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus, Chase
                                       5          violated Cal. Civ. Code § 1788.17.
                                       6    70. Through this conduct, Chase violated 15 U.S.C. § 1692e(8) by communicating
                                       7          credit information which is known or should be known to be false in
                                       8          connection with the collection of Plaintiff’s alleged debt. This section is
                                       9          incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus, Chase
                                      10          violated Cal. Civ. Code § 1788.17.
                                      11    71. Through this conduct, Chase violated 15 U.S.C. § 1692e(10) by using false
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                                      12          representations and deceptive means to collect Plaintiff’s alleged debt. This
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                                      13          section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17;
                                      14          thus, Chase violated Cal. Civ. Code § 1788.17.
                                      15    72. Through this conduct, Chase violated 15 U.S.C. § 1692f by using unfair and
                                      16          unconscionable means to collect Plaintiff’s alleged debt.     This section is
                                      17          incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus, Chase
                                      18          violated Cal. Civ. Code § 1788.17.
                                      19    73. Through this conduct, Chase violated 15 U.S.C. § 1692f(1) by collecting an
                                      20          amount not expressly authorized by the agreement creating the debt or
                                      21          permitted by law. This section is incorporated into the RFDCPA through Cal.
                                      22          Civ. Code § 1788.17; thus, Chase violated Cal. Civ. Code § 1788.17.
                                      23    74. In addition, Chase’s continued illegal collection actions and continued
                                      24          reporting on Plaintiff’s credit reports after failing to conduct a reasonable
                                      25          investigation into Plaintiff’s identity theft claims violate Cal. Civ. Code §
                                      26          1798.92 et seq.
                                      27    ///
                                      28    ///


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                                       1                        CAUSES OF ACTION CLAIMED BY PLAINTIFF
                                       2                                        COUNT I
                                       3       VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                       4                        Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                       5                                [AGAINST CHASE ONLY]
                                       6    75. Plaintiff incorporates by reference all of the above paragraphs of this
                                       7         Complaint as though fully stated herein.
                                       8    76. The foregoing acts and omissions constitute numerous and multiple violations
                                       9         of the RFDCPA.
                                      10    77. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                                      11         any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
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                                      12         damages for a knowing or willful violation in the amount up to $1,000.00
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                                      13         pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and
                                      14         costs pursuant to Cal. Civ. Code § 1788.30(c) from each Defendant except the
                                      15         Credit Bureaus.
                                      16                                    COUNT II
                                                           VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                      17
                                                                     15 U.S.C. §§ 1681-1681X (FCRA)
                                      18
                                                                       [AGAINST ALL DEFENDANTS]
                                      19
                                      20    78. Plaintiff incorporates by reference all of the above paragraphs of this
                                      21         Complaint as though fully stated herein.
                                      22    79. The foregoing acts and omissions constitute numerous and multiple violations
                                      23         of the FCRA.
                                      24    80. As a result of each and every negligent violation of the FCRA, Plaintiff is
                                      25         entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and
                                      26         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2), from
                                      27         Defendants.
                                      28


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                                       1    81. As a result of each and every willful violation of the FCRA, Plaintiff is
                                       2         entitled to actual damages or damages of not less than $100 and not more than
                                       3         $1,000 and such amount as the court may allowed for all other class members,
                                       4         pursuant to 15 U.S.C. § 1681n(a)(1)(A); punitive damages as the court may
                                       5         allow, pursuant to 15 U.S.C. § 1681n(a)(2); and reasonable attorney’s fees and
                                       6         costs pursuant to 15 U.S.C. § 1681n(a)(3) from each Defendant.
                                       7                                        COUNT III
                                       8      VIOLATION OF CALIFORNIA CONSUMER CREDIT REPORTING AGENCIES ACT
                                       9                          CAL. CIV. CODE § 1785.1, ET SEQ.
                                      10                               [AGAINST ALL DEFENDANTS]
                                      11    82. Plaintiff incorporates by reference all of the above paragraphs of this
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                                      12         Complaint as though fully stated herein.
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                                      13    83. The foregoing acts and omissions constitute numerous and multiple violations
                                      14         of the California Consumer Credit Reporting Agencies Act.
                                      15    84. In the regular course of its business operations, Defendants routinely furnish
                                      16         information to credit reporting agencies pertaining to transactions between
                                      17         Defendants and Defendants’ consumers, so as to provide information to a
                                      18         consumer’s credit worthiness, credit standing and credit capacity.
                                      19    85. Because Defendants are each a partnership, corporation, association, or other
                                      20         entity, and are therefore each a “person” as that term is defined by Cal. Civ.
                                      21         Code § 1785.3(j), Defendants are and always were obligated to not furnish
                                      22         information on a specific transaction or experience to any consumer credit
                                      23         reporting agency if the person knows or should have known that the
                                      24         information is incomplete or inaccurate, as required by Cal. Civ. Code §
                                      25         1785.25(a). Since Defendants received all documents required to determine
                                      26         the fraudulent nature of Plaintiff’s alleged debts, Defendants should have
                                      27         known that the accounts at issue did not belong to Plaintiff.
                                      28


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                                       1                                          COUNT IV
                                       2                    VIOLATIONS OF CALIFORNIA’S IDENTITY THEFT ACT
                                       3                              CAL. CIV. CODE § 1798.92-1798.97
                                       4                                   [AGAINST CHASE ONLY]
                                       5    86. Plaintiff incorporates by reference all of the above paragraphs of this
                                       6           Complaint as though fully stated herein.
                                       7    87. The foregoing acts and omissions constitute numerous and multiple violations
                                       8           of the Cal. Civ. Code § 1798.92, including but not limited to each and every
                                       9           one of the above-cited provisions of Cal. Civ. Code § 1798.92.
                                      10    88. As a result of each and every violation of Cal. Civ. Code § 1798.92, Plaintiff
                                      11           is entitled to any actual damages pursuant to Cal. Civ. Code § 1798.93(c)(5);
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                                      12           statutory damages in an amount up to $30,000.00 pursuant to Cal. Civ. Code §
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                                      13           1798.93(c)(6); costs pursuant to Cal. Civ. Code § 1798.93(c)(5), attorney’s
                                      14           fees and costs pursuant to Cal. Civ. Code § 1798.93(c)(5) and any equitable
                                      15           relief the Court deems appropriate pursuant to Cal. Civ. Code § 1798.93(c)(5).
                                      16                                     PRAYER FOR RELIEF
                                      17    WHEREFORE, Plaintiff prays that judgment be entered against each Defendant
                                      18    for:
                                      19           • An award of actual damages, in an amount to be determined at trial or
                                      20              damages of a maximum of $1,000 pursuant to 15 U.S.C. § 1681n(a)(1)(A),
                                      21              against Defendants for each incident of willful noncompliance of the
                                      22              FCRA;
                                      23           • An award of actual damages, in an amount to be determined at trial,
                                      24              pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
                                      25              individually;
                                      26           • An award of actual damages, in an amount to be determined at trial,
                                      27              pursuant to Cal. Civ. Code § 1798.93(c)(5);
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                                       1          • An award of punitive damages, as the Court may allow pursuant to 15
                                       2             U.S.C. § 1681n(a)(2), against Defendants for each incident of willful
                                       3             noncompliance to the FCRA;
                                       4          • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
                                       5             § 1788.30(b), against each named Defendant individually;
                                       6          • An award of statutory damages of $30,000 pursuant to Cal. Civ. Code §
                                       7             1798.93(c)(6);
                                       8          • An award for costs and reasonable attorney’s fess, pursuant to 15 U.S.C. §
                                       9             1681n(a)(3), against Defendants for each incident of negligent
                                      10             noncompliance of the FCRA;
                                      11          • An award of costs of litigation and reasonable attorney’s fees, pursuant to
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                                      12             Cal. Civ. Code § 1788.30(c), against each named Defendant individually;
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                                      13          • An award of actual damages in an amount to be determined at trial
                                      14             pursuant to 15 U.S.C. § 1681o(a)(1) against Defendants for each incident
                                      15             of negligent noncompliance of the FCRA;
                                      16          • An award of costs and litigation and reasonable attorney’s fees pursuant
                                      17             15 U.S.C. § 1681n(a)(3) and 15 U.S.C. § 1681o(a)(2) against Defendants
                                      18             for each incident of noncompliance of the FCRA;
                                      19          • An award of attorneys’ fees and costs pursuant to Cal. Civ. Code §
                                      20             1798.93(c)(5);
                                      21          • An award of actual damages, in an amount to be determined at trial,
                                      22             pursuant to Cal. Civ. Code § 1785.31(a)(2)(A), against each named
                                      23             Defendant individually;
                                      24          • Award of attorneys’ fees and costs pursuant to Cal. Civ. Code §
                                      25             1785.31(a)(1); and, Cal. Civ. Code § 1785.31(d) against each named
                                      26             Defendant individually;
                                      27    ///
                                      28    ///


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                                       1         • An award of punitive damages of $100-$5,000 per willful violation of
                                       2            Cal. Civ. Code § 1785.25(a), pursuant to Cal. Civ. Code §
                                       3            1785.31(a)(2)(B);
                                       4         • For equitable and injunctive relief pursuant to Cal. Civ. Code §
                                       5            1785.31(b); and,
                                       6         • Any and all other relief the Court deems just and proper.
                                       7                                       TRIAL BY JURY
                                       8    89. Pursuant to the seventh amendment to the Constitution of the United States of
                                       9         America, Plaintiff is entitled to, and demands, a trial by jury.
                                      10
                                            Dated: July 8, 2016                                           Respectfully submitted,
                                      11
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                                      12                                                         KAZEROUNI LAW GROUP, APC
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                                      13
                                                                                               By: ___/s/ Abbas Kazerounian___
                                      14                                                             ABBAS KAZEROUNIAN, ESQ.
                                                                                                       ATTORNEY FOR PLAINTIFF
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